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OF TEXAS






NO. WR-77,918-01






EX PARTE MICHAEL LYNN HENDERSON, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 2007-1731-C2A IN THE 54TH  DISTRICT COURT


FROM MCLENNAN COUNTY






	Per curiam.


O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of murder and
sentenced to sixty-five years' imprisonment.  The Tenth Court of Appeals affirmed his conviction. 
Henderson v. State, No. 10-07-00394-CR (Tex. App. - Waco, August 26, 2009).

	Applicant contends that his appellate counsel rendered ineffective assistance because  counsel
failed to timely notify Applicant that his conviction had been affirmed and failed to  advise him of
his right to petition pro se for discretionary review.  In support of his claim, Applicant provides
copies of an inquiry to and response from the prison mail room indicating that he received no legal
mail from appellate counsel in November of 2011.  However, the applicable period during which
Applicant should have received notice would be August and September of 2009, not November of
2011.   

	Applicant has alleged facts that, if true, might entitle him to relief.  Strickland v. Washington,
466 U.S. 668 (1984); Ex parte Wilson, 956 S.W.2d 25 (Tex. Crim. App. 1997).  In these
circumstances, additional facts are needed.  Pursuant to Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1960), the trial court is the appropriate forum for findings of fact.  The trial court
shall order appellate counsel to respond to Applicant's claim of ineffective assistance of counsel on
appeal.  The trial court may also obtain an affidavit from the unit mail room stating whether or not
Applicant received any legal mail from his appellate counsel during the period of August and
September of 2009.   The trial court may use any means set out in Tex. Code Crim. Proc. art. 11.07,
§ 3(d).

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent.  
If Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04.

	The trial court shall make findings of fact and conclusions of law as to whether Applicant's
appellate counsel timely informed Applicant that his conviction had been affirmed and that he has
a right to file a pro se petition for discretionary review.  The trial court shall also make any other
findings of fact and conclusions of law that it deems relevant and appropriate to the disposition of
Applicant's claim for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be forwarded to this Court within 120 days of the date of this order.  Any extensions of time shall
be obtained from this Court.


Filed:	August 22, 2012

Do not publish


